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                                    Merrie Wycoff
                                   August 26, 2021                                1

 ·1· · · · · · IN THE UNITED STATES DISTRICT COURT
 · · · · · · · · · FOR THE DISTRICT OF COLORADO
 ·2
 · · ·Civil Action No. 1:20-cv-03142-DDD-KLM
 ·3· ·______________________________________________________

 ·4· ·VIDEOTAPE DEPOSITION OF:· MERRIE WYCOFF
 · · · · · · · · · · · · · · · ·August 26, 2021
 ·5· · · · · · · · · · · · · · ·(Via RemoteDepo)
 · · ·______________________________________________________
 ·6
 · · ·MIDLAB, INC., a Tennessee Corporation,
 ·7
 · · ·Plaintiff,
 ·8
 · · ·v.
 ·9
 · · ·MERRIE PISANO WYCOFF individually and as trustee of
 10· ·The Wycoff Family Trust; WYCOFF FINANCIAL, LLC, a
 · · ·Colorado Limited Liability Company; MAGNUS VERITAS
 11· ·LLC, a Colorado Limited Liability Company; and GCS452,
 · · ·a Colorado Limited Liability Company,
 12
 · · ·Defendants.
 13· ·______________________________________________________

 14
 · · · · · · · · · PURSUANT TO NOTICE, the videotape
 15· ·deposition of MERRIE WYCOFF was taken on behalf of the
 · · ·Plaintiff in Longmont, Colorado, via remote means, on
 16· ·August 26, 2021, at 9:07 a.m., before Tiffany D.
 · · ·Goulding, Registered Professional Reporter and Notary
 17· ·Public within Colorado, appearing remotely from
 · · ·Arapahoe County, Colorado.
 18

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 ·1· · · · · · · · (Recess taken, 5:00 p.m. to 5:04 p.m.)

 ·2· · · · · · · · THE VIDEOGRAPHER:· We are back on the

 ·3· ·record.· The time is 11:04 p.m. UTC, 5:04 p.m.

 ·4· ·Mountain.

 ·5· · · · · · · · MR. PULKRABEK:· I think we need Dustin to

 ·6· ·read us back in.

 ·7· · · · · · · · MR. ABELMAN:· He just did.

 ·8· · · · · · · · MR. PULKRABEK:· I'm sorry.· I may have

 ·9· ·had my volume down too low.

 10· · · · · ·Q.· ·(BY MR. PULKRABEK) All right.· We talked

 11· ·about Devon in her work.· And Devon has not been an

 12· ·employee of Zap! Products, has she?

 13· · · · · ·A.· ·Yeah, I think she has.

 14· · · · · · · · (Deposition Exhibit 183 was remotely

 15· ·introduced and provided electronically to the court

 16· ·reporter.)

 17· · · · · ·Q.· ·Okay.· Let's look at Deposition

 18· ·Exhibit 183, please.· See if I can bring this up.· So

 19· ·as the president of Zap! Products, are you familiar

 20· ·with its payroll?

 21· · · · · ·A.· ·Somewhat.

 22· · · · · ·Q.· ·All right.· We understand that there's

 23· ·been no sales from Zap! Products since 2016; is that

 24· ·accurate?

 25· · · · · ·A.· ·I believe so.


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 ·1· · · · · ·Q.· ·And that Zap! has essentially

 ·2· ·discontinued business in 2016 and '17; is that

 ·3· ·accurate?

 ·4· · · · · ·A.· ·Yes.

 ·5· · · · · ·Q.· ·Okay.· Now, I'm showing you what's been

 ·6· ·marked as Deposition Exhibit 183.· And it's a

 ·7· ·compilation of information from Gusto, which is a

 ·8· ·payroll processing system.· And I'll kind of take you

 ·9· ·down towards the end of this document that shows

 10· ·Azuraye Wycoff reportedly working 120 hours a week for

 11· ·Zap! Products in February of this year.· Is that

 12· ·actually happening?

 13· · · · · ·A.· ·Aja was just helping me pack up boxes.

 14· ·And there's years and years and years of Zap! stuff.

 15· ·And Aja helped me reorganize it and try to get rid of

 16· ·some filing cabinets.

 17· · · · · ·Q.· ·Is she working 120 hours a week -- or 120

 18· ·hours a month?

 19· · · · · ·A.· ·Probably not.

 20· · · · · ·Q.· ·Go ahead.

 21· · · · · ·A.· ·No, probably not.

 22· · · · · ·Q.· ·Okay.· What about Devon Wycoff?· Is she

 23· ·working 120 hours a month for Zap! Products?

 24· · · · · ·A.· ·She was paid for it, but no.

 25· · · · · · · · (Deposition Exhibit 184 was remotely


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 ·1· ·introduced and provided electronically to the court

 ·2· ·reporter.)

 ·3· · · · · ·Q.· ·Okay.· And why do you have -- as the

 ·4· ·president of Zap! Products, why do you have your

 ·5· ·daughters on the payroll as working -- this is

 ·6· ·Deposition Exhibit 184, by the way, for Devon Wycoff.

 ·7· ·Why do you have your daughters working 120 hours a

 ·8· ·month on the payroll for Zap!?

 ·9· · · · · ·A.· ·For health insurance.

 10· · · · · ·Q.· ·Okay.· So that kind of gets to my point.

 11· ·Is it correct to say that when we see Devon Wycoff and

 12· ·Azuraye Wycoff on the payroll of Zap! Products and

 13· ·getting paid by or through Gusto, the reason for that

 14· ·really has to do with health insurance?

 15· · · · · ·A.· ·Yes.

 16· · · · · ·Q.· ·And can you explain, why are you having

 17· ·your daughters on Zap! Products payroll in order for

 18· ·them to have health insurance?· Why can't they get

 19· ·health insurance through the private market or some

 20· ·other way?

 21· · · · · ·A.· ·I was told that it's a requirement that

 22· ·you turn in their health insurance.· Jeff had set all

 23· ·this up for them to have health insurance through --

 24· ·it's not State Farm.· I don't know what -- it's

 25· ·Anthem, Blue Cross maybe.· It's one or the other.


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 ·1· ·Jeff had set all this up years ago for them to be on

 ·2· ·this health insurance.· And Devon had some pretty

 ·3· ·specific needs that required specialists.

 ·4· · · · · ·Q.· ·Do you know if it's legal to report

 ·5· ·somebody as working 120 hours a month so that they

 ·6· ·could get health insurance if in fact they're not

 ·7· ·working?

 ·8· · · · · ·A.· ·I don't know if it's legal.· I paid for

 ·9· ·it.

 10· · · · · ·Q.· ·Okay.· And then when this money gets

 11· ·deposited, it goes into an account that is owned

 12· ·jointly between you and Devon or you and Azuraye; is

 13· ·that correct?

 14· · · · · ·A.· ·The money goes into the Zap! account.

 15· ·Aja pays for her health insurance.

 16· · · · · ·Q.· ·Do we see -- part of what we've seen in

 17· ·the bank records are there are deposits and

 18· ·withdrawals going through an account, one of which is

 19· ·held jointly by you and Azuraye.· Another account is

 20· ·held jointly by you and Devon.

 21· · · · · ·A.· ·Correct.

 22· · · · · ·Q.· ·Is that all part of this payroll?· Is

 23· ·that all part of this health insurance thing?

 24· · · · · ·A.· ·Aja pays me monthly for her health

 25· ·insurance.· Then I think it's through Zap! Products


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 ·1· · · · · ·Q.· ·Do you know where the payroll payments

 ·2· ·that Zap! Products makes ostensibly for wages to

 ·3· ·Azuraye Wycoff and Devon Wycoff are going?

 ·4· · · · · ·A.· ·Say that again.· Do I know where they're

 ·5· ·going?

 ·6· · · · · ·Q.· ·Yeah.· Do you know where they get

 ·7· ·deposited?

 ·8· · · · · ·A.· ·I think at one time it was a direct

 ·9· ·deposit to each of their accounts.

 10· · · · · ·Q.· ·Okay.· Were those into joint accounts

 11· ·that you held jointly with them?

 12· · · · · ·A.· ·I think at one time they were jointly

 13· ·joint.· I think Aja is now on Devon's and has been for

 14· ·a while, and Devon's is on Aja's.

 15· · · · · ·Q.· ·What does that mean, Devon's is on Aja's

 16· ·and Aja's is on Devon's?· I don't understand that.

 17· · · · · ·A.· ·In case of emergencies, which happen

 18· ·often in my family, somebody needed to be responsible

 19· ·to take care of bills or whatever.· And so Aja is now

 20· ·a second on Devon's account and has been for a while,

 21· ·and Devon is a second on Aja's account.

 22· · · · · ·Q.· ·Has Devon ever worked 120 hours per week

 23· ·for Zap!, ever?

 24· · · · · ·A.· ·I think she might have done that when

 25· ·Jeff was alive.· She was helping him do stuff.               I


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 ·1· ·don't know what.

 ·2· · · · · ·Q.· ·Okay.· Not since 2019, though?

 ·3· · · · · ·A.· ·2019, no.

 ·4· · · · · · · · MR. PULKRABEK:· Tiffany, did we ever get

 ·5· ·a time count on this?

 ·6· · · · · · · · THE VIDEOGRAPHER:· So right now we are at

 ·7· ·six hours, 32 minutes on the record.

 ·8· · · · · · · · MR. PULKRABEK:· All right.

 ·9· · · · · ·Q.· ·(BY MR. PULKRABEK) Ms. Wycoff, have

 10· ·you -- other than the tax court case, have you ever

 11· ·testified before by deposition or in trial?

 12· · · · · ·A.· ·Yes.

 13· · · · · ·Q.· ·How many times?

 14· · · · · ·A.· ·Oh, gosh.· I did for -- well, not in

 15· ·trial.· I took a deposition for MSK and that whole

 16· ·group.· I think I did when I was in my 20s.

 17· · · · · ·Q.· ·What was that for?

 18· · · · · ·A.· ·For Sheridan.

 19· · · · · ·Q.· ·Any others?

 20· · · · · ·A.· ·I can't remember if I went to trial for

 21· ·anything else.

 22· · · · · ·Q.· ·We talked earlier about the number of

 23· ·claims that were brought against Jeffrey Wycoff and/or

 24· ·any of the entities at or about the time of his death.

 25· ·What claims do you recall there being?


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 ·1· · · · · · · · · ·REPORTER'S CERTIFICATE

 ·2· ·STATE OF COLORADO· · · · · )
 · · · · · · · · · · · · · · · · ) ss.
 ·3· ·COUNTY OF ARAPAHOE· · · · ·)

 ·4· · · · · · · · I, TIFFANY D. GOULDING, Registered
 · · ·Professional Reporter and Notary Public ID No.
 ·5· ·19984028637, State of Colorado, do hereby certify that
 · · ·previous to the commencement of the examination, the
 ·6· ·said MERRIE WYCOFF verbally declared that her
 · · ·testimony is under the penalty of perjury in relation
 ·7· ·to the matters in controversy between the parties
 · · ·hereto; that the said deposition was taken in machine
 ·8· ·shorthand by me at the time and place aforesaid and
 · · ·was thereafter reduced to typewritten form; that the
 ·9· ·foregoing is a true transcript of the questions asked,
 · · ·testimony given, and proceedings had.
 10
 · · · · · · · · · I further certify that I am not employed
 11· ·by, related to, nor of counsel for any of the parties
 · · ·herein, nor otherwise interested in the outcome of
 12· ·this litigation.

 13· · · · · · · · IN WITNESS WHEREOF, I have affixed my
 · · ·signature this ______ day of ____________________,
 14· ·2021.

 15· · · · · · · · My commission expires November 4, 2022.

 16· ·x____ Reading and Signing was requested.

 17· ·_____ Reading and Signing was waived.

 18· ·_____ Reading and Signing is not required.

 19

 20
 · · · · · · · · · · · · · ·________________________________
 21· · · · · · · · · · · · ·Tiffany Goulding
 · · · · · · · · · · · · · ·Registered Professional Reporter
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